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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE:                                                          :
                                                                :
OPENAI, INC.,                                                   :            25-md-3143 (SHS) (OTW)
COPYRIGHT INFRINGEMENT LITIGATION,                              :
                                                                :
                                                                :            ORDER
This Document Relates To:                                       :
All Actions                                                     :
                                                                :
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           ONA T. WANG, United States Magistrate Judge:

           The Court will hold an In-Person Discovery Status Conference for all actions under 25-

md-3143 on May 27, 2025, at 9:30 a.m. in Courtroom 20D, 500 Pearl Street, New York, NY

10007.

           The parties to each case or consolidated case are directed to file a joint dispute chart by

May 20, 2025. For any parties new to this Court, joint dispute charts should identify: (1) the

relevant dispute, (2) each party’s position in no more than two short paragraphs,1 (3) the

relevant ECF numbers for such dispute (including oppositions and replies), and (4) hyperlinks 2

to relevant ECF filings cited. As the Court has noted before, (see, e.g., Case No. 23-cv-8292,

ECF 321), the parties should NOT include any “issues” for which the parties have not fully

engaged in the meet and confer process; any such disputes will be denied outright. The parties




1
 The recent charts submitted in Case Nos. 23-cv-8292 and 23-cv-11195 contained notably longer “paragraphs”
than previous charts. The charts are not intended to reproduce the parties’ letter briefs.

2
    The purpose of the hyperlinks is to enable the Court to review the arguments made in the parties’ letter briefs.
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are encouraged to refer to previous joint dispute charts filed in Case Nos. 23-cv-8292 and 23-cv-

11195 for formatting. (See, e.g., 23-cv-8292, ECF No. 397; 23-cv-11195, ECF No. 518).

       The Court will issue a separate order regarding the News Plaintiffs’ supplemental letter

re: potential spoliation of output log data.




       SO ORDERED.



                                                          s/ Ona T. Wang
Dated: May 9, 2025                                      Ona T. Wang
       New York, New York                               United States Magistrate Judge




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